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03/19/2021 12:09 AM CDT




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                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                                GARRISON v. OTTO
                                                Cite as 308 Neb. 372



                                    Margaret L. Garrison, appellee, v.
                                      Logan M. Otto II, appellant.
                                                   ___ N.W.2d ___

                                        Filed February 5, 2021.   No. S-20-386.

                 Appeal from the District Court for Lancaster County: John
               A. Colborn, Judge. Affirmed.
                 Edith T. Peebles, of Brodkey, Cuddigan, Peebles, Belmont &amp;
               Line, L.L.P., for appellant.
                    Adam R. Little, of Ballew Hazen, P.C., L.L.O., for appellee.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                  Per Curiam.
                  This is an appeal of a domestic abuse protection order, which
               we moved to our docket. See Neb. Rev. Stat. § 24-1106(3)
               (Cum. Supp. 2018).
                  The court, having considered the oral arguments and hav-
               ing reviewed the record de novo, finds that the domestic abuse
               protection order entered by the trial court should be affirmed.
                                                                   Affirmed.
